               05-44481-rdd    Doc 9692-14          Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit F-2
      In re Delphi Corporation, et al.                      Pg 1 of 1         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT F-2 - ADJOURNED INSUFFICIENTLY DOCUMENTED CLAIMS
             CREDITOR'S NAME AND             CLAIM                  ASSERTED                     DATE              DOCKETED
                   ADDRESS                  NUMBER                CLAIM AMOUNT                   FILED              DEBTOR


  SIEMENS AG                                 2571              Secured:                         04/06/2006   DELPHI CORPORATION
  SACHNOFF & WEAVER LTD                                         Priority:                                    (05-44481)
  10 S WACKER DR 40TH FL                                  Administrative:
  CHICAGO, IL 60606                                          Unsecured:            $30,556.80
                                                                   Total:          $30,556.80

                                   Total:      1                                   $30,556.80




*UNL stands for unliquidated
                                                                     Page 1 of 1
